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                   Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


                     META PLATFORMS, INC.’S FINAL WITNESS LIST

       Pursuant to Local Civil Rule 16.5 of the U.S. District Court for the District of Columbia

and the Court’s Order (ECF No. 390), Meta Platforms Inc. (“Meta”) respectfully submits the

following final witness list. Meta discloses the party, non-party, and expert witnesses it currently

anticipates that it will or may call at trial, with the expected subjects of their testimony. Meta

currently expects that it will call witnesses live but reserves the right to offer prior sworn video

testimony in the event that witnesses are unavailable or other considerations warrant changing

witnesses from live to video testimony. Meta reserves the right to add or drop witnesses from

the list. Meta reserves the right not to call any of the people listed, as circumstances may

warrant. Meta reserves the right to call the custodian of records of any party or non-party or

other witness to the extent necessary to demonstrate the authenticity or admissibility of

documents, in the event a stipulation cannot be reached concerning the authentication or

admissibility of such documents or an appropriate certification cannot be obtained pursuant to

Federal Rule of Evidence 902(11). Meta reserves the right to question witnesses for more or less


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than the estimated time, within Meta’s allocation of time in this trial. In addition, Meta

designates witnesses on the final FTC witness list as witnesses that Meta will or may call, to

avoid disputes at trial over the scope of Meta’s examination of those witnesses. Meta reserves

the right to question the people listed below about any topics that are the subjects of testimony

by witnesses called by the Federal Trade Commission. In the event Meta presents a rebuttal

case, Meta reserves the right to call witnesses for appropriate rebuttal.




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                                  Meta Current and Former Employees – Will Call

Witness               Contact Information               Brief Description of         Time Estimate   Form of
                                                        Testimony                                    Testimony
Acton, Brian          Joseph J. Matelis                 The competitive landscape;   60 minutes      Live
                      Sullivan & Cromwell LLP           WhatsApp acquisition;
                      1700 New York Avenue, N.W.,       product improvement and
                      Suite 700                         innovation.
                      Washington, D.C. 20006
                      Matelisj@sullcrom.com
                      (202) 956-7610
Alison, Tom           Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   75 minutes      Live
                      Frederick, PLLC                   product improvement and
                      1615 M Street, N.W.,              innovation.
                      Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Bosworth, Andrew      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                      Frederick, PLLC                   product improvement and
                      1615 M Street, N.W.,              innovation.
                      Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993




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Witness             Contact Information               Brief Description of         Time Estimate   Form of
                                                      Testimony                                    Testimony
Cathcart, Will      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                    Frederick, PLLC                   WhatsApp acquisition;
                    1615 M Street, N.W.,              product improvement and
                    Suite 400                         innovation.
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993
Cobb, Curtiss       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                    Frederick, PLLC                   product improvement and
                    1615 M Street, N.W.,              innovation.
                    Suite 400
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993
Hegeman, John       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                    Frederick, PLLC                   product improvement and
                    1615 M Street, N.W.,              innovation.
                    Suite 400
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993




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Witness                 Contact Information               Brief Description of         Time Estimate   Form of
                                                          Testimony                                    Testimony
Janardhan, Santosh      Kellogg, Hansen, Todd, Figel, &   Instagram acquisition;       30 minutes      Live
                        Frederick, PLLC                   WhatsApp acquisition;
                        1615 M Street, N.W.,              product improvement and
                        Suite 400                         innovation.
                        Washington, D.C. 20036
                        apaul@kellogghansen.com
                        (202) 326-7993
Krieger, Mike           David Wales                       The competitive landscape;   45 minutes      Live
                        Skadden, Arps, Slate, Meagher &   Instagram acquisition;
                        Flom LLP                          product improvement and
                        1440 New York Avenue, N.W.,       innovation.
                        Washington, D.C. 20005
                        david.wales@skadden.com
                        (202) 371-7190
Li, Susan               Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   45 minutes      Live
                        Frederick, PLLC                   product improvement and
                        1615 M Street, N.W.,              innovation.
                        Suite 400
                        Washington, D.C. 20036
                        apaul@kellogghansen.com
                        (202) 326-7993




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Witness             Contact Information               Brief Description of         Time Estimate   Form of
                                                      Testimony                                    Testimony
Mosseri, Adam       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   90 minutes      Live
                    Frederick, PLLC                   product improvement and
                    1615 M Street, N.W.,              innovation.
                    Suite 400
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993
Olivan, Javier      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                    Frederick, PLLC                   Instagram acquisition;
                    1615 M Street, N.W.,              WhatsApp acquisition;
                    Suite 400                         product improvement and
                                                      innovation.
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993
Parikh, Jay         Kellogg, Hansen, Todd, Figel, &   Instagram acquisition;       90 minutes      Live
                    Frederick, PLLC                   WhatsApp acquisition;
                    1615 M Street, N.W.,              product improvement and
                    Suite 400                         innovation.
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993




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Witness               Contact Information               Brief Description of         Time Estimate   Form of
                                                        Testimony                                    Testimony
Raji, Vijaye          Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                      Frederick, PLLC                   product improvement and
                      1615 M Street, N.W.,              innovation.
                      Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Rosen, Guy            Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                      Frederick, PLLC                   product improvement and
                      1615 M Street, N.W.,              innovation.
                      Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Sandberg, Sheryl      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   45 minutes      Live
                      Frederick, PLLC                   Instagram acquisition;
                      1615 M Street, N.W.,              WhatsApp acquisition;
                      Suite 400                         product improvement and
                                                        innovation.
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993




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Witness               Contact Information               Brief Description of         Time Estimate   Form of
                                                        Testimony                                    Testimony
Schroepfer, Mike      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   45 minutes      Live
                      Frederick, PLLC                   Instagram acquisition;
                      1615 M Street, N.W.,              WhatsApp acquisition;
                      Suite 400                         product improvement and
                                                        innovation.
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Schultz, Alex         Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   120 minutes     Live
                      Frederick, PLLC                   Instagram acquisition;
                      1615 M Street, N.W.,              WhatsApp acquisition;
                      Suite 400                         product improvement and
                                                        innovation.
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Shortway, Nick        Kellogg, Hansen, Todd, Figel, &   Instagram acquisition;       45 minutes      Live
                      Frederick, PLLC                   product improvement and
                      1615 M Street, N.W.,              innovation.
                      Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993




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Witness                     Contact Information                 Brief Description of           Time Estimate   Form of
                                                                Testimony                                      Testimony
Simo, Fidji                 Kellogg, Hansen, Todd, Figel, &     The competitive landscape;     30 minutes      Live via Remote
                            Frederick, PLLC                     product improvement and                        Transmission ‡
                                                                                                                           0F




                            1615 M Street, N.W.,                innovation.
                            Suite 400
                            Washington, D.C. 20036
                            apaul@kellogghansen.com
                            (202) 326-7993
Systrom, Kevin              David Wales                         The competitive landscape;     105 minutes     Live
                            Skadden, Arps, Slate, Meagher &     Instagram acquisition;
                            Flom LLP                            product improvement and
                            1440 New York Avenue, N.W.,         innovation.
                            Washington, D.C. 20005
                            david.wales@skadden.com
                            (202) 371-7190
Zuckerberg, Mark            Kellogg, Hansen, Todd, Figel, &     The competitive landscape;     180 minutes     Live
                            Frederick, PLLC                     Instagram acquisition;
                            1615 M Street, N.W.,                WhatsApp acquisition;
                            Suite 400                           product improvement and
                                                                innovation.
                            Washington, D.C. 20036
                            apaul@kellogghansen.com
                            (202) 326-7993




      ‡
          The parties have agreed to call Ms. Simo via remote transmission.
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                                Meta Current and Former Employees – May Call

Witness              Contact Information               Brief Description of         Time Estimate   Form of
                                                       Testimony                                    Testimony
Backstrom, Lars      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   product improvement and
                     1615 M Street, N.W.,              innovation.
                     Suite 400
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
Cole, Amy            Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   Instagram acquisition;
                     1615 M Street, N.W.,              product improvement and
                     Suite 400                         innovation.
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993




Cox, Chris           Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   60 minutes      Live
                     Frederick, PLLC                   Instagram acquisition;
                     1615 M Street, N.W.,              WhatsApp acquisition;
                     Suite 400                         product improvement and
                                                       innovation.
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993

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Witness              Contact Information               Brief Description of         Time Estimate   Form of
                                                       Testimony                                    Testimony
Davenport, Ben       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   product improvement and
                     1615 M Street, N.W.,              innovation.
                     Suite 400
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
Deng, Peter          Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   product improvement and
                     1615 M Street, N.W.,              innovation.
                     Suite 400
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
Ebersman, David      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   Instagram acquisition;
                     1615 M Street, N.W.,              WhatsApp acquisition;
                     Suite 400                         product improvement and
                                                       innovation.
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993




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Witness           Contact Information               Brief Description of         Time Estimate   Form of
                                                    Testimony                                    Testimony
Gleit, Naomi      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                  Frederick, PLLC                   Instagram acquisition;
                  1615 M Street, N.W.,              WhatsApp acquisition;
                  Suite 400                         product improvement and
                                                    innovation.
                  Washington, D.C. 20036
                  apaul@kellogghansen.com
                  (202) 326-7993
Gupta, Nitin      Kellogg, Hansen, Todd, Figel, &   WhatsApp acquisition;        30 minutes      Live
                  Frederick, PLLC                   product improvement and
                  1615 M Street, N.W.,              innovation.
                  Suite 400
                  Washington, D.C. 20036
                  apaul@kellogghansen.com
                  (202) 326-7993
Idema, Matt       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                  Frederick, PLLC                   product improvement and
                  1615 M Street, N.W.,              innovation.
                  Suite 400
                  Washington, D.C. 20036
                  apaul@kellogghansen.com
                  (202) 326-7993




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Witness           Contact Information               Brief Description of         Time Estimate   Form of
                                                    Testimony                                    Testimony
Patel, Keval      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                  Frederick, PLLC                   product improvement and
                  1615 M Street, N.W.,              innovation.
                  Suite 400
                  Washington, D.C. 20036
                  apaul@kellogghansen.com
                  (202) 326-7993
Rose, Dan         Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                  Frederick, PLLC                   Instagram acquisition;
                  1615 M Street, N.W.,              WhatsApp
                  Suite 400                         acquisition; product
                  Washington, D.C. 20036            improvement
                  apaul@kellogghansen.com           and innovation.
                  (202) 326-7993
Stoop, Dirk       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                  Frederick, PLLC                   product improvement and
                  1615 M Street, N.W.,              innovation.
                  Suite 400
                  Washington, D.C. 20036
                  apaul@kellogghansen.com
                  (202) 326-7993




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Witness              Contact Information               Brief Description of         Time Estimate   Form of
                                                       Testimony                                    Testimony
Toffey, Dan          Kellogg, Hansen, Todd, Figel, &   Instagram acquisition;       30 minutes      Live
                     Frederick, PLLC                   product improvement and
                     1615 M Street, N.W.,              innovation.
                     Suite 400
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
Wehner, David        Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   Instagram acquisition;
                     1615 M Street, N.W.,              WhatsApp acquisition;
                     Suite 400                         product improvement and
                                                       innovation.
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
Zoufonoun, Amin      Kellogg, Hansen, Todd, Figel, &   The competitive landscape;   30 minutes      Live
                     Frederick, PLLC                   Instagram acquisition;
                     1615 M Street, N.W.,              WhatsApp acquisition;
                     Suite 400                         product improvement and
                                                       innovation.
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993




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                                   Federal Trade Commission Employees – May Call

Witness                          Contact Information              Brief Description of      Time Estimate   Form of
                                                                  Testimony                                 Testimony
              , or other         Federal Trade Commission         The competitive           30 minutes      Live
FTC employees or                                                  landscape; Instagram
representatives in                                                acquisition; the FTC’s
                                                                  clearance of that
connection with the FTC
                                                                  acquisition.
investigation of Meta’s
acquisition of Instagram
in 2012, or any other
investigations related to
alleged harms.
                 , or other       Federal Trade Commission        The competitive           30 minutes      Live
FTC employees or                                                  landscape; Instagram
representatives in                                                acquisition; WhatsApp
                                                                  acquisition; the FTC’s
connection with the FTC
                                                                  clearance of those
investigation of Meta’s                                           acquisitions.
acquisition of Instagram
in 2012, the FTC’s acquisition
of WhatsApp in 2014, or any other
investigations related to
alleged harms.




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Witness              Contact Information             Brief Description of        Time Estimate   Form of
                                                     Testimony                                   Testimony
                     Federal Trade Commission        The facts supporting the    30 minutes      Live
                                                     FTC’s response to
                                                     Meta’s List of Features
                                                     or Activities (Sept. 12,
                                                     2022); the FTC’s
                                                     response to Meta’s
                                                     Interrogatory Nos. 13,
                                                     14, and 16, and related
                                                     responses.




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                                       Non-Party Witnesses – Will Call

Witness,                Contact Information           Brief Description of         Time Estimate   Form of
Employer                                              Testimony                                    Testimony
Aguhob, JJ              Andrew Han                    The competitive landscape.   30 minutes      Live
Viddy                   Warner Media
                        230 Park Ave S,
                        New York, NY 10003
                        Andrew.Han@warnermedia.co
                        m
                        (212) 548-5555
Andreou, Jacob          David O’Neil                  The competitive landscape.   60 minutes      Live
Snap                    Debevoise & Plimpton LLP
                        801 Pennsylvania Avenue NW
                        Washington, DC 20004
                        daoneil@debevoise.com
                        (202)-383-8040
Baumgarten, Kimberly    Robert Dugdale                The competitive landscape.   30 minutes      Live
Epic Games              Kendall Brill & Kelly, LLP
                        10100 Santa Monica
                        Boulevard, Suite 2500
                        Los Angeles, CA 90067
                        rdugdale@kbkfirm.com
                        (310) 272-7904




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Witness,               Contact Information           Brief Description of         Time Estimate   Form of
Employer                                             Testimony                                    Testimony
Chandlee, Blake        Craig M. Reiser, Esq.         The competitive landscape.   30 minutes      Live
TikTok                 Axinn, Veltrop & Harkrider
                       LLP
                       45 Rockefeller Plaza
                       (630 5th Avenue)
                       New York, NY 10111
                       creiser@axinn.com
                       (212) 728-2218
Chen, Jonathan         Nick Giles, Esq.              The competitive landscape.   45 minutes      Live
Twitter                McGuireWoods LLP
                       Gateway Plaza
                       800 East Canal Street
                       Richmond, VA 23219
                       ngiles@mcguirewoods.com
                       (804) 775-4760
Coleman, Scott         Peter J. Mucchetti, Esq.      The competitive landscape.   45 minutes      Live
Pinterest              Clifford Chance US LLP
                       2001 K Street N.W.,
                       Washington, D.C. 20006
                       Peter.Mucchetti@cliffordchanc
                       e.com
                       (202) 912-5053




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Witness,               Contact Information           Brief Description of         Time Estimate   Form of
Employer                                             Testimony                                    Testimony
Crowley, Dennis        Daniel N. Anziska             The competitive landscape.   30 minutes      Live
Foursquare             Troutman Pepper
                       875 Third Avenue
                       New York, NY 10022
                       daniel.anziska@troutman.com
                       (212) 704-6009
Filner, Aaron          Greg Wells, Esq.            The competitive landscape.     45 minutes      Live
YouTube                Vinson & Elkins LLP
                       2200 Pennsylvania Avenue NW
                       Suite 500 West
                       Washington, DC 20037
                       gregwells@velaw.com
                       (202) 639-6516




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Witness,                 Contact Information          Brief Description of         Time Estimate   Form of
Employer                                              Testimony                                    Testimony
Hsu, Flora               Brad Estes, Esq.             The competitive landscape.   30 minutes      Live
Nextdoor Holdings        Lewis & Llewellyn LLP
                         601 Montgomery Street
                         Suite 2000
                         San Francisco, CA 94111
                         bestes@lewisllewellyn.com
                         (415) 762-0907
Kim, Thomas              Greg Wells, Esq.            The competitive landscape.    45 minutes      Live
YouTube                  Vinson & Elkins LLP
                         2200 Pennsylvania Avenue NW
                         Suite 500 West
                         Washington, DC 20037
                         gregwells@velaw.com
                         (202) 639-6516
Levenson, David          David O’Neil                The competitive landscape.    60 minutes      Live
Snap                     Debevoise & Plimpton LLP
                         801 Pennsylvania Avenue NW
                         Washington, DC 20004
                         daoneil@debevoise.com
                         (202)-383-8040
Pappas, V                Justin Shur                 The competitive landscape.    60 minutes      Live
TikTok                   MoloLamken LLP
                         600 New Hampshire Avenue,
                         NW
                         Washington, D.C. 20037
                         jshur@mololamken.com
                         (202) 556-2005
                                                         20
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Witness,                 Contact Information             Brief Description of         Time Estimate   Form of
Employer                                                 Testimony                                    Testimony
Pattabiraman, Kumaresh   Ryan Z. Watts                   The competitive landscape.   36 minutes      Video Designations
LinkedIn                 Arnold & Porter Kaye Scholer
                         LLP
                         601 Massachusetts Ave., NW,
                         Washington, DC 20001
                         ryan.watts@arnoldporter.com
                         (202) 942-6609
Shah, Ronak              Evan Kreiner                    The competitive landscape.   45 minutes      Live
Apple                    Skadden, Arps, Slate, Meagher
                         & Flom LLP
                         1 Manhattan West
                         New York, NY 10001
                         evan.kreiner@skadden.com
                         (212) 735-2491
Showerman, Court         Becca Furman                    The competitive landscape.   30 minutes      Live
Quora                    Brad Estes
                         Lewis & Llewellyn LLP,
                         601 Montgomery Street,
                         Suite 2000,
                         San Francisco, CA 94111
                         bfurman@lewisllewellyn.com
                         (415) 762-7692




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Witness,                 Contact Information          Brief Description of         Time Estimate   Form of
Employer                                              Testimony                                    Testimony
Tang, Julia              Krystal Durham               The competitive landscape.   30 minutes      Live
Discord                  Williams & Connolly LLP
                         680 Maine Ave, SW
                         Washington, D.C. 20024
                         kdurham@wc.com
                         (202) 434-5000
Weinstein, Debbie        Greg Wells, Esq.            The competitive landscape.    38 minutes      Video Designations
YouTube                  Vinson & Elkins LLP
                         2200 Pennsylvania Avenue NW
                         Suite 500 West
                         Washington, DC 20037
                         gregwells@velaw.com
                         (202) 639-6516
Yam, Sylvia              Elai Katz                   The competitive landscape.    30 minutes      Live
Walmart                  McDermott Will & Emery
                         One Vanderbilt Avenue
                         New York, NY 10017
                         ekatz@mwe.com
                         (212) 547-5791




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                                    Non-Party Witnesses – May Call

Witness,              Contact Information            Brief Description of         Time Estimate   Form of
Employer                                             Testimony                                    Testimony
Bennett, Jason        Alexis James Gilman            Product improvement and      30 minutes      Live
Amazon                Crowell & Moring LLC           innovation.
                      1001 Pennsylvania Avenue NW
                      Washington, D.C. 20004
                      agilman@crowell.com
                      (202) 624-2570
Bigman, Jason         Ted Hassi                      The competitive landscape.   30 minutes      Live
Reddit                Debevoise & Plimpton LLP
                      801 Pennsylvania Avenue N.W.
                      Washington, D.C. 20004
                      lmartin@debevoise.com
                      (202) 383-8135
Esfahani, Ali         Jeffrey Perry                  WhatsApp acquisition.        30 minutes      Live
Morgan Stanley        Weil, Gotshal & Manges, LLP
                      2001 M Street NW
                      Washington D.C. 20036
                      jeffrey.perry@weil.com
                      (202) 682-7105




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Witness,                  Contact Information            Brief Description of        Time Estimate   Form of
Employer                                                 Testimony                                   Testimony
Goetz, Jim                Samer Musallam                 WhatsApp acquisition; the   30 minutes      Live
Sequoia Capital           Ropes & Gray                   competitive landscape.
                          2099 Pennsylvania Avenue NW
                          Washington, DC 20006
                          Samer.musallam@ropesgray.co
                          m
                          (202) 508-4850
Greenfield, Samuel        Greg Wells, Esq.               Product improvement and     30 minutes      Live
Google                    Vinson & Elkins LLP            innovation.
                          2200 Pennsylvania Avenue NW
                          Suite 500 West
                          Washington, DC 20037
                          gregwells@velaw.com
                          (202) 639-6516
                          Allison Huebert               The competitive landscape.   15 minutes      Video Designations
eBay, Inc.                Quinn Emanuel Urquhart &
                          Sullivan, LLP
                          191 N. Wacker Drive, Suite
                          2700
                          Chicago, Illinois 60606
                          allisonhuebert@quinnemanuel.c
                          om
                          (312) 705-7427




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Witness,              Contact Information              Brief Description of         Time Estimate   Form of
Employer                                               Testimony                                    Testimony
Morrison, Eric        Craig M. Reiser, Esq.            The competitive landscape.   30 minutes      Live
TikTok                Axinn, Veltrop & Harkrider LLP
                      45 Rockefeller Plaza
                      (630 5th Avenue)
                      New York, NY 10111
                      creiser@axinn.com
                      (212) 728-2218
Perzyk, Tim           Nick Giles, Esq.                 The competitive landscape.   30 minutes      Live
Twitter               McGuireWoods LLP
                      Gateway Plaza
                      800 East Canal Street
                      Richmond, VA 23219
                      ngiles@mcguirewoods.com
                      (804) 775-4760
Presser, Adam         Craig M. Reiser, Esq.          The competitive landscape.     45 minutes      Live
TikTok                Axinn, Veltrop & Harkrider LLP
                      45 Rockefeller Plaza
                      (630 5th Avenue)
                      New York, NY 10111
                      creiser@axinn.com
                      (212) 728-2218




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Witness,                  Contact Information            Brief Description of         Time Estimate   Form of
Employer                                                 Testimony                                    Testimony
Raymond, Winter           Leah Martin                    The competitive landscape.   30 minutes      Live
Reddit                    Debevoise & Plimpton LLP
                          801 Pennsylvania Avenue N.W.
                          Washington, D.C. 20004
                          lmartin@debevoise.com
                          (202) 383-8203
Roberts, Julia            Peter J. Mucchetti, Esq.       The competitive landscape.   45 minutes      Live
Pinterest                 Clifford Chance US LLP
                          2001 K Street N.W.,
                          Washington, D.C. 20006
                          Peter.Mucchetti@cliffordchance
                          .com
                          (202) 912-5053
Slattery, Alastair        Greg Wells, Esq.               The competitive landscape.   30 minutes      Live
Google                    Vinson & Elkins LLP
                          2200 Pennsylvania Avenue NW
                          Suite 500 West
                          Washington, DC 20037
                          gregwells@velaw.com
                          (202) 639-6516




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Witness,           Contact Information             Brief Description of        Time Estimate   Form of
Employer                                           Testimony                                   Testimony
Smith, Ian         Maria Galeno                    WhatsApp acquisition.       30 minutes      Live
Allen & Co.        Pillsbury Winthrop Shaw
                   Pittman LLP
                   31 West 52nd Street
                   New York, NY 10019
                   maria.galeno@pillsburylaw.com
                   (212) 858-1833




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                                              Meta Experts – Will Call

Witness,           Contact Information               Brief Description of            Time Estimate   Form of
Employer                                             Testimony                                       Testimony
Carlton, Dennis*   Kellogg, Hansen, Todd, Figel, &   The competitive landscape;      150 minutes     Live
Compass Lexecon    Frederick, PLLC                   Instagram acquisition;
                   1615 M Street, N.W.,              WhatsApp acquisition; product
                   Suite 400                         improvement and innovation.
                   Washington, D.C. 20036
                   apaul@kellogghansen.com
                   (202) 326-7993
Fischel, Daniel*   Kellogg, Hansen, Todd, Figel, &   The competitive landscape;      45 minutes      Live
Compass Lexecon    Frederick, PLLC                   Instagram acquisition;
                   1615 M Street, N.W.,              WhatsApp acquisition.
                   Suite 400
                   Washington, D.C. 20036
                   apaul@kellogghansen.com
                   (202) 326-7993
Ghose, Anindya*    Kellogg, Hansen, Todd, Figel, &   The competitive landscape;      90 minutes      Live
New York           Frederick, PLLC                   product improvement and
University         1615 M Street, N.W.,              innovation.
                   Suite 400
                   Washington, D.C. 20036
                   apaul@kellogghansen.com
                   (202) 326-7993




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Witness,             Contact Information               Brief Description of            Time Estimate   Form of
Employer                                               Testimony                                       Testimony
Kaplan, Steve*       Kellogg, Hansen, Todd, Figel, &   The competitive landscape;      60 minutes      Live
University of        Frederick, PLLC                   Instagram acquisition;
Chicago              1615 M Street, N.W.,              WhatsApp acquisition; product
                     Suite 400                         improvement and innovation.
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
List, John*          Kellogg, Hansen, Todd, Figel, &   The competitive landscape.      90 minutes      Live
University of        Frederick, PLLC
Chicago              1615 M Street, N.W.,
                     Suite 400
                     Washington, D.C. 20036
                     apaul@kellogghansen.com
                     (202) 326-7993
Nieh, Jason*        Kellogg, Hansen, Todd, Figel, &    Instagram acquisition;          60 minutes      Live
Columbia University Frederick, PLLC                    WhatsApp acquisition; product
                    1615 M Street, N.W.,               improvement and innovation.
                    Suite 400
                    Washington, D.C. 20036
                    apaul@kellogghansen.com
                    (202) 326-7993




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Witness,              Contact Information               Brief Description of            Time Estimate   Form of
Employer                                                Testimony                                       Testimony
Simonson, Itamar*     Kellogg, Hansen, Todd, Figel, &   The competitive landscape.      45 minutes      Live
Stanford University   Frederick, PLLC
                      1615 M Street, N.W.,
                      Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Subrahmanian,         Kellogg, Hansen, Todd, Figel, &   Instagram acquisition;          45 minutes      Live
V.S.*                 Frederick, PLLC                   WhatsApp acquisition; product
Northwestern          1615 M Street, N.W.,              improvement and innovation.
University            Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993
Tucker, Catherine*    Kellogg, Hansen, Todd, Figel, &   The competitive landscape;      60 minutes      Live
Massachusetts         Frederick, PLLC                   product improvement and
Institute of          1615 M Street, N.W.,              innovation.
Technology            Suite 400
                      Washington, D.C. 20036
                      apaul@kellogghansen.com
                      (202) 326-7993




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